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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

IN RE NEW ENGLAND COMPOUNDING
                                                 MDL No. 2419
PHARMACY, INC. PRODUCTS
                                                 Dkt. No. 1:13-md-2419 (RWZ)
LIABILITY LITIGATION

THIS DOCUMENT RELATES TO:

All Actions Naming The Specialty Surgery
Center, PLLC

    UNOPPOSED MOTION TO SEAL MEMORANDUM OF THE PLAINTIFFS’
  STEERING COMMITTEE IN SUPPORT OF MOTION FOR DISTRIBUTION OF
 COMMON BENEFIT FEES AND EXPENSES RELATED TO SPECIALTY SURGERY
                         CENTER CASES

       Under Local Rule 83.6.11, the Plaintiffs’ Steering Committee on behalf of plaintiffs with

claims against the Specialty Surgery Center, PLLC (the “Specialty Surgery Defendants”) having

reached aggregate settlement agreements with the Specialty Surgery Defendants in this matter

hereby move this Court to allow the PSC to file under seal a Motion To For Distribution of

Common Benefit Fees and Expenses Related to the Specialty Surgery Center Cases and the

Memorandum of Law In Support Thereof. The PSC respectfully states as follows:

       1.      By sealed order, the Court previously created the Specialty Surgery Center

Qualified Settlement Fund. Dkt. No. 3507.

       2.      The Specialty Surgery Center Qualified Settlement Fund is subject to a potential

common benefit assessment under MDL Order No. 8. Dkt. No. 1333.

       3.      In moving the Court for such an assessment, the PSC will need to disclose the

amount of the Specialty Surgery Center Qualified Settlement Fund. The Specialty Surgery

Defendants have insisted on the confidentiality of the amount of the Specialty Surgery Center

Qualified Settlement Fund and have indicated a strong interest in maintaining the confidentiality

of this information.
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        4.      Under Local Rule 83.6.11, the Court has the discretion “due to exceptional

circumstances presented in the case” to seal documents that are “not [to] be disclosed in the

interests of justice.”

        5.      It is a well established part of American jurisprudence to keep settlement

documents confidential and “the district court may seal documents in order to foster settlement.”

United States v. Glens Falls Newspapers, Inc., 160 F.3d 853, 856, 858 (2d Cir. 1998) (noting

disclosure of settlement negotiation documents would be likely to “impair materially the trial

court’s performance of its Article III function of crafting a settlement of this case”). As one

Circuit Court has held:

                There is no question that fostering settlement is an important
                Article III function of the federal district courts. Every case must
                be dropped, settled or tried, and a principle function of a trial
                judge is to foster an atmosphere of open discussion among the
                parties’ attorneys and representatives so that litigation may be
                settled promptly and fairly so as to avoid the uncertainty,
                expense and delay inherent in at trial.

Id. at 858 (footnote omitted); see also See Conservation Law Foundation of New England, Inc. v.

Franklin, 989 F.2d 54, 59 (1st Cir. 1993) (recognizing that the courts have a “strong and clear

policy in favor of encouraging settlements”) (internal quotations omitted).

        6.      The importance of honoring the confidentiality of private settlements is elevated

in MDLs such as the one here. Glens Falls. 160 F.3d at 856-57 (“[W]here a case is complex and

expensive and resolution of the case will benefit the public, the public has a strong interest in

settlement. The trial court must protect the public interest as well as the interests of the parties,

by encouraging the most fair and efficient resolution.”)

        7.      Consistent with this principle, courts in complex litigation and MDLs routinely

allow documents related to the establishment of qualified funds to be filed and remain under seal.
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In re: Gen. Motors LLC Ignition Switch Litig., No. 14-MC-2543 (JMF), 2016 WL 1317975, at

*2 (S.D.N.Y. Mar. 2, 2016) (sealing settlement agreement and appointment agreements (similar

to the escrow agreement here) in establishing a qualified settlement fund because the court was

“mindful that MDL courts have kept similar materials under seal…”); E.E.O.C. v. Morgan

Stanley & Co., Inc., 256 F.R.D. 124, 126 (S.D.N.Y. 2004) (ordering that names of individuals

participating in the settlement process and the awards of the appointed special master be kept

confidential, and ordering any documents filed with the Court concerning the settlement process

be filed under seal); In re: Depuy Orthopaedics, Inc., ASR Hip Implant Prod. Liab. Litig., 1:10-

md-02197, Case Management Order No. 20: Procedure for Filing Qualified Settlement Fund

Motions, Docket No. 698 (N.D. Ohio June 4, 2014) (ordering that motions to establish a QSF,

and any accompanying documents, be filed under seal) (attached hereto as Exhibit 1).

       8.     The PSC has conferred with the Specialty Surgery Defendants, and they do not

oppose, and in fact insist upon, filing the Memorandum of Law In Support Of Motion for

Distribution of Common Benefit Fees and Expenses Related to Specialty Surgery Center Cases

under seal.

       9.     A copy of the redacted form of the Memorandum of Law in support of the

Specialty Surgery Center Common Benefit Motion is attached hereto as Exhibit 1, and an

unsealed document will be delivered to the Court Clerk consistent with Local Rule 83.6.11. An

unsealed version of this Memorandum of Law has also been served on counsel of record in the

Specialty Surgery Center Cases and circulated to such counsel prior to filing for comment.

       WHEREFORE, the Settlement Plaintiffs respectfully request that the Court grant this

Motion to Seal and thereafter immediately take up the issues raised in the Motion for

Distribution of Common Benefit Fees and Expenses Related to Specialty Surgery Center Cases.
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Respectfully Submitted, this 8th day of March, 2018,

                                                   /s/ J. Gerard Stranch, IV
                                                   J. Gerard Stranch, IV
                                                   Benjamin A. Gastel
                                                   BRANSETTER, STRANCH &
                                                   JENNINGS PLLC
                                                   223 Rosa Parks Ave., Suite 200
                                                   Nashville, TN 37203
                                                   Phone: (615) 254-8801
                                                   Fax: (615) 255-5419
                                                   gerards@branstetterlaw.com
                                                   beng@bsjfirm.com

                                                   Thomas M. Sobol (BBO# 471770)
                                                   Kristen A. Johnson (BBO# 667261)
                                                   HAGENS BERMAN SOBOL
                                                   SHAPIRO LLP
                                                   55 Cambridge Parkway, Suite 301
                                                   Cambridge, MA 02142
                                                   Phone: (617) 482-3700
                                                   Fax: (617) 482-3003
                                                   tom@hbsslaw.com
                                                   kristenj@hbsslaw.com

                                                   Plaintiffs’ Lead Counsel

                                                   Elizabeth J. Cabraser
                                                   Mark P. Chalos
                                                   LIEFF CABRASER HEIMANN &
                                                   BERNSTEIN, LLP
                                                   275 Battery Street, 29th Floor
                                                   San Francisco, CA 94111
                                                   Phone: (415) 956-1000
                                                   Fax: (415) 956-1008
                                                   ecabraser@lchb.com
                                                   mchalos@lchb.com

                                                   Federal/State Liaison

                                                   Marc E. Lipton
                                                   LIPTON LAW
                                                   18930 W. 10 Mile Road
                                                   Southfield, MI 48075
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                                  Phone: (248) 557-1688
                                  Fax: (248) 557-6344
                                  marc@liptonlawcenter.com

                                  Kim Dougherty
                                  JANET, JENNER & SUGGS, LLC
                                  31 St. James Avenue, Suite 365
                                  Boston, MA 02116
                                  Telephone: (617) 933-1265
                                  kdougherty@myadvocates.com

                                  Patrick T. Fennell
                                  CRANDALL & KATT
                                  366 Elm Avenue, S.W.
                                  Roanoke, Virginia 24016
                                  Phone: (540) 342-2000
                                  pfennell@crandalllaw.com

                                  Mark Zamora
                                  ZAMORA FIRM
                                  6 Concourse Parkway, 22nd Floor
                                  Atlanta, GA 30328
                                  Phone: (404) 451-7781
                                  Fax: (404) 506-9223
                                  mark@markzamora.com

                                  Plaintiffs’ Steering Committee
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                                CERTIFICATE OF SERVICE

       I, J. Gerard Stranch, IV, hereby certify that I caused a copy of the foregoing to be filed

electronically via the Court’s electronic filing system. Those attorneys who are registered with

the Court’s electronic filing system may access these filings through the Court’s system, and

notice of these filings will be sent to these parties by operation of the Court’s electronic filing

system.

Dated: March 8, 2018                              /s/ J. Gerard Stranch, IV
                                                  J. Gerard Stranch, IV
